Case 19-26809-JNP            Doc 17 Filed 12/22/19 Entered 12/23/19 00:43:04                          Desc Imaged
                                  Certificate of Notice Page 1 of 4

                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


    In Re:                                                       Case No.:            19-26809/JNP
                                                                                   __________________
    Camilo & Maynee Leal                                         Chapter:                   7
                                                                                   __________________
                                                                 Judge:                   JNP
                                                                                   __________________


                                  NOTICE OF PROPOSED ABANDONMENT

           JOSEPH D. MARCHAND
    __________________________________,                TRUSTEE
                                                 ____________________     in this case proposes to abandon
    property of the estate described below as being of inconsequential value. If you object to the
    abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
    serve it on the party named below not later than 7 days before the hearing date.

        Address of the Clerk: Clerk of the United States Bankruptcy Court
                              U.S. Post Office & Court House
                              PO Box 2067, 401 Market Street
                              Camden, NJ 08101-2067

                                                                                              Jerrold N. Poslusny, Jr.
    If an objection is filed, a hearing will be held before the Honorable _______________________________
            January   21,  2020
    on ______________________ at ________a.m. 10:00           at the United States Bankruptcy Court, Courtroom no.
        4C
    ________.   (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
    abandonment shall take effect on entry by the clerk of a Certification of No Objection.
        Description and value of property: Real Property:
                                           1220 Drexel Avenue
                                           Atlantic City, NJ
                                          FMV - $10,000.00*


        Liens on property:                 M&T Bank - $109,215.00

                                            *Debtor possesses a Grant to rebuild the property in the sum
                                            of $67,423.00, but the Trustee does not believe any attempt to
                                            liquidate same would yield a significant monetary benefit to
                                            Unsecured Creditors

        Amount of equity claimed as exempt: $0.00



    Objections must be served on, and requests for additional information directed to:

    Name:             /s/ Joseph D. Marchand, Chapter 7 Trustee
                      ________________________________________________________________________
    Address:          117-119 West Broad Street, P.O. Box 298, Bridgeton, NJ 08302
                      ________________________________________________________________________
                   (856) 451-7600
    Telephone No.: ________________________________________________________________________

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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-26809-JNP
Camilo A Leal                                                                                              Chapter 7
Maynee S. Leal
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0312-1                  User: admin                        Page 1 of 2                          Date Rcvd: Dec 20, 2019
                                      Form ID: pdf905                    Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 22, 2019.
db/jdb         +Camilo A Leal,    Maynee S. Leal,    1634 S Bowling Green Dr,     Cherry Hill, NJ 08003-3642
cr             +Nissan Motor Acceptance Corporation,     c/o Stewart, Zlimen & Jungers, Ltd.,     2860 Patton Rd,
                 Roseville, MN 55113-1100
518441928      +Amed Castilla & Angela Vargas,     3501 Ventnor Ave.,    Atlantic City, NJ 08401-3556
518438937      +Bayview Financial Loan Servicing,     Attn: Bankruptcy Dept,
                 4425 Ponce De Leon Blvd. - 5th Floor,     Coral Gables, FL 33146-1837
518438939      +Carrington Mortgage Services,     Attn: Bankruptcy,    PO Box 3730,    Anaheim, CA 92803-3730
518438955      +Charo Vargas & Luis Gensollen,     362 S Pomona Rd,    Galloway, NJ 08205-9452
518438940      +Citibank/The Home Depot,    Attn: Recovery/Centralized Bankruptcy,      PO Box 790034,
                 St Louis, MO 63179-0034
518438941      +Citizens Bank RBS,    1 Citizens Dr.,    Ms: Rop 15b,    Riverside, RI 02915-3035
518438942       CornerStone Education Loan Services,     US Department of Education,     PO Box 105189,
                 Atlanta GA 30348-5189
518438945      +GreenSky Credit,    Attn: Bankruptcy,    PO Box 29429,    Atlanta, GA 30359-0429
518438947      +Monarch Recovery Management, Inc.,     3260 Tillman Drive - Suite 75,     Bensalem, PA 19020-2059
518438948      +Nissan Motor Acceptance,    Attn: Bankrupty,    PO Box 660360,     Dallas, TX 75266-0360
518438949      +Penn Medicine,    PO Box 824406,    Philadelphia, PA 19182-4406
518438950      +Regional Adjustment Bureau, Inc.,     7130 Goodlett Farms Pkwy - Ste 100 West,     PO Box 34119,
                 Memphis, TN 38184-0119
518438951      +Selip & Stylianou,    10 Forest Ave. - Suite 300,     PO Box 914,    Paramus, NJ 07653-0914
518438952      +Sunrise Credit Services,    260 Airport Plaza,    Farmingdale, NY 11735-4021
518438954      +Tenaglia & Hunt, PA,    395 W. Passaic St. - Suite 205,     Rochelle Park, NJ 07662-3016
518438956      +Wells Fargo Bank,    Mac F823f-02f,    PO Box 10438,    Des Moines, IA 50306-0438

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Dec 20 2019 23:57:30        U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,     Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Dec 20 2019 23:57:29        United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518438938      +E-mail/Text: ECMBKMail@Caliberhomeloans.com Dec 20 2019 23:57:57        Caliber Home Loans,
                 Attn: Cash Operations,    PO Box 24330,    Oklahoma City, OK 73124-0330
518438943       E-mail/Text: mrdiscen@discover.com Dec 20 2019 23:56:39        Discover Financial,
                 Attn: Bankruptcy Department,     PO Box 15316,   Wilmington, DE 19850
518438944      +E-mail/Text: fggbanko@fgny.com Dec 20 2019 23:56:40        Forster Garbus & Garbus,
                 7 Banta Place,    Hackensack, NJ 07601-5604
518438946       E-mail/Text: camanagement@mtb.com Dec 20 2019 23:57:23        M & T Bank,   Attn: Bankruptcy,
                 PO Box 844,    Buffalo, NY 14240
518440357      +E-mail/PDF: gecsedi@recoverycorp.com Dec 21 2019 00:06:06        Synchrony Bank,
                 c/o of PRA Receivables Management, LLC,     PO Box 41021,    Norfolk, VA 23541-1021
518438953      +E-mail/PDF: gecsedi@recoverycorp.com Dec 21 2019 00:06:52        Synchrony Bank/Sams Club,
                 Attn: Bankruptcy Dept,     PO Box 965060,    Orlando, FL 32896-5060
                                                                                                TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 22, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                             Form ID: pdf905              Total Noticed: 26


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 19, 2019 at the address(es) listed below:
              Joseph Marchand    jdmarchand@comcast.net, jmarchand@comcast.net;jmarchand@ecf.axosfs.com
              Steven J. Richardson   on behalf of Joint Debtor Maynee S. Leal ecf@richardsonlawoffices.com
              Steven J. Richardson   on behalf of Debtor Camilo A Leal ecf@richardsonlawoffices.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 4
